    Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 1 of 27

                                                                                                                38728749



                             UNITED STATES DISTRICT COURT                                                   Jul 15 2011
                                                                                                              6:23PM

                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                             *     MDL NO. 2179
       ³'((3:$7(5+25,=21´
       In the GULF OF MEXICO on                             *     SECTION: J
       April 20, 2010
                                                            *     JUDGE BARBIER
Applies to: All Cases
                                                            *     MAG. JUDGE SHUSHAN



    RESPONSE ON BEHALF OF TRITON ASSET LEASING GMBH, TRANSOCEAN
      HOLDINGS LLC, TRANSOCEAN DEEPWATER INC., AND TRANSOCEAN
     2))6+25('((3:$7(5'5,//,1*,1&72%33$57,(6¶),5676(72)
                       REQUESTS FOR ADMISSION1

        Pursuant to Federal Rules of Civil Procedure 26 and 34, TRITON ASSET LEASING

GMBH, TRANSOCEAN HOLDINGS LLC, TRANSOCEAN DEEPWATER INC., AND

TRANSOCEAN OFFSHORE DEEPWATER DRILLING INC. FROOHFWLYHO\ ³5HVSRQGHQWV´ 

REMHFWWRWKH%33DUWLHV¶ ³%3´ )LUVW5HTXHVWVIRU$GPLVVLRQ ³%3¶V5HTXHVWVIRU$GPLVVLRQ´ 

as follows:




1
  $OWKRXJK%3¶V5HTXHVWVIRU$GPLVVLRQDOVRQDPH7UDQVRFHDQ/WGDQG7UDQVRFHDQ,QFWKHVH
SDUWLHV REMHFW JHQHUDOO\ WR %3¶V 5HTXHVWV IRU $GPLVVLRQ DQG WR HDFK LQGLYLGXDO 5HTXHVW IRU
Admission, on the grounds that this Court lacks personal jurisdiction over Transocean Ltd. and
Transocean Inc. Transocean Ltd. and Transocean Inc. so object with full reservation of rights,
and by appearing now do not waive personal jurisdiction. On May 6, 2011, this Court entered a
Special Appearance by Transocean Ltd. and Transocean Inc. and ordered a standstill of
jurisdictional discovery, allowing counsel to accept service of process without waiver of
jurisdiction (Docket Number 2274). Transocean Ltd. and Transocean Inc. have not consented to
personal MXULVGLFWLRQ DQG WKHUHIRUH SHQGLQJ UHVROXWLRQ RI WKH VWDQGVWLOO %3¶V 5HTXHVWV IRU
Admission as to Transocean Ltd. and Transocean Inc. are not proper.
   Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 2 of 27




RESPONSE TO REQUEST FOR ADMISSION NO. 44:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDWWKHWHUP³RSHUDWLRQRIWKHDeepwater Horizon´LVYDJXHDPELJXRXVDQGPLVOHDGLQJ%3

was operator of the Macondo well; Transocean was the drilling contractor. In addition, the term

³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV  5HVSRQGHQWV FDQQRW

determine to which companies, in particular, this request purports to pertain. Respondents

further object to this Request for Admission to the extent it implies Transocean had assumed or

was otherwise responsible for any of the duties or obligations of the Macondo well operator. BP,

as operator of the Macondo well, retained full authority over well design, drilling operations,

casing and cementing processes, temporary abandonment procedures and testing, and

determination and implementation of appropriate well-control procedures, among other

responsibilities. Subject to and without waiving the foregoing specific and General Objections,

Respondents admit that BP contracted Transocean to provide the Deepwater Horizon drilling rig

and the personnel to operate it. As such, Transocean was involved in the day-to-day operations

of the Deepwater Horizon.

REQUEST FOR ADMISSION NO. 45:

       Admit that in performing drilling operations using the Deepwater Horizon pursuant to the

Drilling Contract, the Transocean Deepwater Horizon Companies were independent contractors.




                                              28
   Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 3 of 27




RESPONSE TO REQUEST FOR ADMISSION NO. 45:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

DGPLWWKDW$UWLFOHRIWKH'ULOOLQJ&RQWUDFWVWDWHVLQSDUW³In performing the work set forth

LQ WKLV &2175$&7 &2175$&725 VKDOO DFW DW DOO WLPHV DV DQ LQGHSHQGHQW FRQWUDFWRU´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 18.1. Such questions will be determined by an appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 46:

       Admit that no BP entity had any direction or control of the Transocean Deepwater

Horizon Companies or their employees or agents in the work performed under the Drilling

Contract except in the results to be obtained.

RESPONSE TO REQUEST FOR ADMISSION NO. 46:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV



                                                 29
   Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 4 of 27




Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 18.1 of the Drilling Contract states, in part:

       ³&203$1<VKDOOKDYHQRGLUHFWLRQRUFRQWURORI&2175$&725RULWVHPSOR\HHVDQG
       agents except in the results to be obtained. The actual performance and superintendence
       of all work hereunder shall be by CONTRACTOR, but the work shall meet the approval
       of COMPANY and be subject to the general right of inspection herein provided in order
       for COMPANY to secure the satisfactory completion of the work.´

,QDGGLWLRQ6HFWLRQRIWKH'ULOOLQJ&RQWUDFWVWDWHVLQSDUW³&203$1<VKDOOEHHQWLWOHGWR

GHVLJQDWHDUHSUHVHQWDWLYH V ZKRVKDOODWDOOWLPHVKDYHFRPSOHWHDFFHVVWRWKH'ULOOLQJ8QLW«

[and] shall be empoZHUHG WR DFW IRU &203$1< LQ DOO PDQQHU UHODWHG WR &2175$&725¶6

GDLO\ SHUIRUPDQFH RI WKH ZRUN´  5HVSRQGHQWV IXUWKHU VWDWH WKDW WKH\ H[SUHVV QR SRVLWLRQ

regarding the interpretation of Drilling Contract Articles 18.1-18.2. Such questions will be

determined by an appropriate tribunal at an appropriate time.

REQUEST FOR ADMISSION NO. 47:

       Admit that in drilling the MC252 Well, the Transocean Deepwater Horizon Companies

were responsible for detecting and preventing blowouts.

RESPONSE TO REQUEST FOR ADMISSION NO. 47:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Respondents also object to this Request for Admission to the extent it implies that BP had no



                                                  30
   Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 5 of 27




responsibility for detecting or preventing blowouts. For example, at the Macondo well, BP, as

operator, was responsible for the design and interpretation of the negative pressure test. Also, a

succession of interrelated well design, construction, and temporary abandonment decisions by

BP compromised the integrity of the well, compounded the risk of its failure, and ultimately set

off a chain of events that resulted in the Deepwater Horizon incident. Subject to and without

waiving the foregoing specific and General Objections, Respondents admit that Article 15.2 of

the Drilling Contract states, in part:

        ³&2175$&7OR shall maintain well control equipment in accordance with good oilfield
        practices at all times and shall use all reasonable means to control and prevent fire and
        EORZRXWV DQG WR SURWHFW WKH KROH DQG DOO RWKHU SURSHUW\ RI WKH &203$1< « ,Q DQ\
        event, CONTRACTOR, at a minimum, shall use, test, and maintain blowout prevention
        equipment in accordance with all applicable governmental rules, regulations, and orders
        WKHQLQHIIHFW´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 15.2.      Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 48:

        Admit that in drilling the MC252 Well, the Transocean Deepwater Horizon Companies

were required to exercise due diligence to prevent a well from blowing out.

RESPONSE TO REQUEST FOR ADMISSION NO. 48:

        In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

                                                  31
   Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 6 of 27




5HVSRQGHQWV DOVR REMHFW WR WKLV 5HTXHVW IRU $GPLVVLRQ RQ WKH JURXQGV WKDW WKH WHUP ³GXH

GLOLJHQFH´LVYDJXHDQGDPELJXRXV1HLWKHUWKH'ULOOLQJ&RQWUDFWQRU%3¶V5HTXHVWVGHILQH³GXH

GLOLJHQFH´  6XEMHFW WR DQG ZLWKRXW ZDLYLQJ WKH IRUHJRLQJ VSHFLILF DQG *HQHUDO 2EMHFWLRQV

Respondents admit that Article 15.6 of the Drilling Contract regarding the mud program states,

in part:

           ³&2175$&725VKDOOXVHDOOUHDVRQDEOHFDUHWRPDNHDQGPDLQWDLQGULOOLQJPXGKDYLQJ
           weight, viscosity. water loss, and other characteristics to satisfy the requirements as
           specified by COMPANY. CONTRACTOR shall exercise due diligence to prevent the
           well from blowing out, and to enable the efficient drilling, logging, and testing of all
           formations without caving or formation contamination. While drilling, CONTRACTOR
           shall test drilling mud for weight, viscosity, water loss, and other necessary
           characteULVWLFVDVLQVWUXFWHGE\&203$1<«´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 15.6.       Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 49:

           Admit that in drilling the MC252 Well, the Transocean Deepwater Horizon Companies

were required to maintain well control equipment in accordance with good oilfield practices at

all times.

RESPONSE TO REQUEST FOR ADMISSION NO. 49:

           In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.



                                                  32
   Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 7 of 27




5HVSRQGHQWV DOVR REMHFW WR WKLV 5HTXHVW IRU $GPLVVLRQ RQ WKH JURXQGV WKDW WKH WHUP ³JRRG

RLOILHOGSUDFWLFHV´LVYDJXHDQGDPELJXRXV1HLWKHUWKH'ULOOLQJ&RQWUDFWQRU%3¶V5HTXHVWVIRU

$GPLVVLRQ GHILQH ³JRRG RLOILHOG SUDFWLFHV´  6XEMHFW WR DQG ZLWKRXW ZDLYLQJ WKH IRUHJRLQJ

specific and General Objections, Respondents admit that Article 15.2 of the Drilling Contract

states, in part:

        ³&2175$&725VKDOOPDLQWDLQZHOOFRQWUROHTXLSPHQWLQDFFRUGDQFHZLWKJRRGRLOILHOG
        practices at all times and shall use all reasonable means to control and prevent fire and
        EORZRXWV DQG WR SURWHFW WKH KROH DQG DOO RWKHU SURSHUW\ RI WKH &203$1< « ,Q DQ\
        event, CONTRACTOR, at a minimum, shall use, test, and maintain blowout prevention
        equipment in accordance with all applicable governmental rules, regulations, and orders
        WKHQLQHIIHFW´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 15.2.      Such questions will be determined by appropriate tribunal at an

appropriate time. Respondents further state that RHVSRQGHQWV¶%23PDLQWHQDQFHDQGLQVSHFWLRQ

policies and procedures meet or exceed applicable governmental rules and recommendations and

are intended to improve safety and functionality of the BOP. Specifically, Respondents comply

with 30 C.F.R. § 250.446 and meet or exceed guidelines of API RP 53 in their maintenance and

LQVSHFWLRQ SROLFLHV DQG SURFHGXUHV  7KH 0LQHUDO 0DQDJHPHQW 6HUYLFH ³006´  KDV UHJXODUO\

LQVSHFWHG 5HVSRQGHQWV¶ %23 UHFRUGV UHJDUGLQJ 5HVSRQGHQWV¶ PDLQWHQDQFH DQG LQVSHFWLRQ

SURFHGXUHVRQDOOULJVLQWKH*XOIRI0H[LFRDQGQHYHURQFHLPSOLHGRUVWDWHGWKDW5HVSRQGHQWV¶

procedures were insufficient. The MMS also has never cited Respondents for any violation of 30

C.F.R. § 250.446.

REQUEST FOR ADMISSION NO. 50:

        Admit that the Transocean Deepwater Horizon Companies were responsible for pressure

testing the Deepwater Horizon¶V EORZRXW SUHYHQWLRQ GHYLFHV DV RIWHQ DV LQVWUXFWHG E\ %3

usually once every seven days.

                                                  33
   Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 8 of 27




RESPONSE TO REQUEST FOR ADMISSION NO. 50:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 15.2 of the Drilling Contract states, in part:

       ³CONTRACTOR shall pressure test the blowout prevention devices as often as
       instructed by COMPANY, usually once every seven (7) days, and shall function test the
       blowout prevention devices by opening and closing to assure operating condition at each
       WULSIRUDELWFKDQJH«In any event, CONTRACTOR, at a minimum, shall use, test, and
       maintain blowout prevention equipment in accordance with all applicable governmental
       UXOHVUHJXODWLRQVDQGRUGHUVWKHQLQHIIHFW´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 15.2.      Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 51:

       Admit that the Transocean Deepwater Horizon Companies were responsible for function

testing the Deepwater Horizon¶V EORZRXW SUHYHQWLRQ GHYLFHV E\ RSHQLQJ DQG FORVLQJ WR DVVXUH

operating condition at each trip for a bit change.

RESPONSE TO REQUEST FOR ADMISSION NO. 51:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

                                                  34
   Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 9 of 27




pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 15.2 of the Drilling Contract states, in part:

       ³CONTRACTOR shall pressure test the blowout prevention devices as often as
       instructed by COMPANY, usually once every seven (7) days, and shall function test the
       blowout prevention devices by opening and closing to assure operating condition at each
       WULSIRUDELWFKDQJH«In any event, CONTRACTOR, at a minimum, shall use, test, and
       maintain blowout prevention equipment in accordance with all applicable governmental
       UXOHVUHJXODWLRQVDQGRUGHUVWKHQLQHIIHFW´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 15.2.     Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 52:

       Admit that the Transocean Deepwater Horizon Companies were required to use, test, and

maintain the Deepwater Horizon¶V EORZRXW SUHYHQWLRQ HTXLSPHQW LQ DFFRUGDQFH ZLWK DOO

applicable governmental rules, regulations, and orders then in effect.

RESPONSE TO REQUEST FOR ADMISSION NO. 52:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.




                                                  35
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 10 of 27




Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 15.2 of the Drilling Contract states, in part:

       ³&2175$&725VKDOOPDLQWDLQZHOOFRQWUROHTXLSPHQWLQDFFRUGDQFHZLWKJRRGRLOILHOG
       practices at all times and shall use all reasonable means to control and prevent fire and
       blowouts and to protect the hole and all other propert\ RI WKH &203$1< « ,Q DQ\
       event, CONTRACTOR, at a minimum, shall use, test, and maintain blowout prevention
       equipment in accordance with all applicable governmental rules, regulations, and orders
       WKHQLQHIIHFW´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 15.2.     Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 53:

       Admit that in drilling the MC252 Well, the Transocean Deepwater Horizon Companies

were required to use all reasonable means to control and prevent fire and blowouts and to protect

the hole and all other property of BP.

RESPONSE TO REQUEST FOR ADMISSION NO. 53:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Respondents DOVR REMHFW WR WKLV 5HTXHVW IRU $GPLVVLRQ RQ WKH JURXQGV WKDW WKH WHUP ³DOO

UHDVRQDEOHPHDQV´LVYDJXHDQGDPELJXRXV1HLWKHUWKH'ULOOLQJ&RQWUDFWQRU%3¶V5HTXHVWVIRU

$GPLVVLRQGHILQH³DOOUHDVRQDEOHPHDQV´6XEMHFWWRDQGZLWKRXWZDLYLQJWKHIRUHJRLQg specific




                                                  36
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 11 of 27




and General Objections, Respondents admit that Article 15.2 of the Drilling Contract states, in

part:

        ³&2175$&725VKDOOPDLQWDLQZHOOFRQWUROHTXLSPHQWLQDFFRUGDQFHZLWKJRRGRLOILHOG
        practices at all times and shall use all reasonable means to control and prevent fire and
        EORZRXWV DQG WR SURWHFW WKH KROH DQG DOO RWKHU SURSHUW\ RI WKH &203$1< « ,Q DQ\
        event, CONTRACTOR, at a minimum, shall use, test, and maintain blowout prevention
        equipment in accordance with all applicable governmental rules, regulations, and orders
        WKHQLQHIIHFW´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 15.2.      Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 54:

        Admit that the Transocean Deepwater Horizon Companies had the primary responsibility

for the safety of all of their operations.

RESPONSE TO REQUEST FOR ADMISSION NO. 54:

        In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 17.1 of the Drilling Contract states, in part:




                                                  37
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 12 of 27




       ³&2175$&725VKDOOKDYHWKHSULPDU\UHVSRQVLELOLW\IRUWKHVDIHW\RIDOOLWVRSHUDWLRQV
       shall take all measures necessary or proper to protect the personnel and facilities and, in
       addition, shall observe all safety rules and regulations of any governmental agency having
       jurisdiction over operations conducted hereunder. CONTRACTOR shall place the highest
       priority on safety while performing the work. CONTRACTOR shall also observe all of
       COMPANY'S safety rules and guidelines as set forth in "Safety and Health Manual" of
       9DVWDU5HVRXUFHV,QF«´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 17.1.      Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 55:

       Admit that the Transocean Deepwater Horizon Companies were responsible for taking all

measures necessary or proper to protect the Deepwater Horizon¶VSHUVRQQHODQGIDFLOLWLHV

RESPONSE TO REQUEST FOR ADMISSION NO. 55:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 17.1 of the Drilling Contract states, in part:

       ³&2175$&725VKDOOKDYHWKHSULPDU\UHVSRQVLELOLW\IRUWKHVDIHW\RIDOOLWVRSHUDWLRQV
       shall take all measures necessary or proper to protect the personnel and facilities and, in
       addition, shall observe all safety rules and regulations of any governmental agency having
       jurisdiction over operations conducted hereunder. CONTRACTOR shall place the highest
       priority on safety while performing the work. CONTRACTOR shall also observe all of
       COMPANY'S safety rules and guidelines as set forth in "Safety and Health Manual" of
       9DVWDU5HVRXUFHV,QF«´



                                                  38
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 13 of 27




Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 17.1.     Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 56:

       Admit that the Transocean Deepwater Horizon Companies were required to observe all

safety rules and regulations of any governmental agency having jurisdiction over operations

conducted under the Drilling Contract.

RESPONSE TO REQUEST FOR ADMISSION NO. 56:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ Ls vague and ambiguous.

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 17.1 of the Drilling Contract states, in part:

       ³&2175$&725VKDOOKDYHWKHSULPDU\UHVSRQVLELOLW\IRUWKHVDIHW\RIDOOLWVRSHUDWLRQV
       shall take all measures necessary or proper to protect the personnel and facilities and, in
       addition, shall observe all safety rules and regulations of any governmental agency having
       jurisdiction over operations conducted hereunder. CONTRACTOR shall place the highest
       priority on safety while performing the work. CONTRACTOR shall also observe all of
       COMPANY'S safety rules and guidelines as set forth in "Safety and Health Manual" of
       9DVWDU5HVRXUFHV,QF«´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 17.1.     Such questions will be determined by appropriate tribunal at an

appropriate time.



                                                  39
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 14 of 27




REQUEST FOR ADMISSION NO. 57:

        Admit that the Transocean Deepwater Horizon Companies were responsible for

maintaining the Deepwater Horizon at optimal operating condition, in accordance with good oil

practices throughout the duration of the Drilling Contract.

RESPONSE TO REQUEST FOR ADMISSION NO. 57:

        In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

5HVSRQGHQWV DOVR REMHFW WR WKLV 5HTXHVW IRU $GPLVVLRQ RQ WKH JURXQGV WKDW WKH WHUP ³JRRG RLO

SUDFWLFHV´ LV YDJXH DQG DPELJXRXV  1HLWKHU WKH 'ULOOLQJ &RQWUDFW QRU %3¶V 5HTXHVWV IRU

$GPLVVLRQ GHILQH ³JRRG RLO SUDFWLFHV´  6XEMHFW WR DQG ZLWKRXW ZDLYLQJ WKH IRUHJRLQJ VSHFLILF

and General Objections, Respondents admit that Article 14.1 of the Drilling Contract states, in

SDUW ³CONTRACTOR shall maintain the Drilling Unit at optimal operating condition, in

DFFRUGDQFH ZLWK JRRG RLOILHOG SUDFWLFHV WKURXJKRXW WKH GXUDWLRQ RI WKH &2175$&7´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.1.       Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 58:

        Admit that the Transocean Deepwater Horizon Companies represented that the

Deepwater Horizon and related equipment shall be in a condition to permit its continuous and



                                                    40
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 15 of 27




efficient operation during the period of the Drilling Contract, subject to required periods of

maintenance, repair, drydocking, and inspection by regulations bodies and classification

societies.

RESPONSE TO REQUEST FOR ADMISSION NO. 58:

        In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 14.1.1 of the Drilling Contract states, in part:

        ³&2175$&725UHSUHVHQWVWKDW L WKH'ULOOLQJ8QLWDQGUHlated equipment shall be in a
        condition to permit its continuous and efficient operation during the Contract Period,
        subject to required periods of maintenance, repair, drydocking and inspection by
        regulatory bodies and classification societies, (ii) it will diligently perform the Work in a
        good workmanlike manner consistent with applicable industry standards and practices,
        (iii) it will use sound technical principles where applicable, (iv) it will perform the Work
        in compliance with this Contract, (v) it will furnish material and equipment in good
        condition to sufficiently meet the applicable CONTRACT requirements and good oilfield
        practices and (vi) where mutually agreed, it will furnish used material and equipment, fit
        for the intended use. CONTRACTOR shall bear any cost incurred in placing the Drilling
        Unit in a condition to function continuously and efficiently during the entire Contract
        Period. CONTRACTOR agrees to ensure that the Drilling Unit and all equipment and
        materials furnished by CONTRACTOR are adequately maintained and in such condition
        as to permit their continuous and efficient operation. CONTRACTOR shall appropriately
        protect and secure all COMPANY'S equipment and materials placed in its care.
        CONTRACTOR also agrees to carry out visual inspection on, and make available to
        COMPANY to test any of CONTRACTOR'S equipment in the manner prescribed by
        &203$1<´




                                                  41
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 16 of 27




Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.1.1     Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 59:

        Admit that the Transocean Deepwater Horizon Companies represented that they would

diligently perform the work under the Drilling Contract in a good workmanlike manner

consistent with applicable industry standards and practices.

RESPONSE TO REQUEST FOR ADMISSION NO. 59:

        In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

5HVSRQGHQWV DOVR REMHFW WR WKLV 5HTXHVW IRU $GPLVVLRQ RQ WKH JURXQGV WKDW WKH WHUP ³JRRG

workmanlike mannHU´LVYDJXHDQGDPELJXRXV1HLWKHUWKH'ULOOLQJ&RQWUDFWQRU%3¶V5HTXHVWV

IRU $GPLVVLRQ GHILQH ³JRRG ZRUNPDQOLNH PDQQHU´  6XEMHFW WR DQG ZLWKRXW ZDLYLQJ WKH

foregoing specific and General Objections, Respondents admit that Article 14.1.1 of the Drilling

Contract states, in part:

        ³&2175$&725UHSUHVHQWVWKDW L WKH'ULOOLQJ8QLWDQGUHODWHGHTXLSPHQWVKDOOEHLQD
        condition to permit its continuous and efficient operation during the Contract Period,
        subject to required periods of maintenance, repair, drydocking and inspection by
        regulatory bodies and classification societies, (ii) it will diligently perform the Work in a
        good workmanlike manner consistent with applicable industry standards and practices,
        (iii) it will use sound technical principles where applicable, (iv) it will perform the Work
        in compliance with this Contract, (v) it will furnish material and equipment in good
        condition to sufficiently meet the applicable CONTRACT requirements and good oilfield

                                                 42
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 17 of 27




        practices and (vi) where mutually agreed, it will furnish used material and equipment, fit
        for the intended use. CONTRACTOR shall bear any cost incurred in placing the Drilling
        Unit in a condition to function continuously and efficiently during the entire Contract
        Period. CONTRACTOR agrees to ensure that the Drilling Unit and all equipment and
        materials furnished by CONTRACTOR are adequately maintained and in such condition
        as to permit their continuous and efficient operation. CONTRACTOR shall appropriately
        protect and secure all COMPANY'S equipment and materials placed in its care.
        CONTRACTOR also agrees to carry out visual inspection on, and make available to
        COMPANY to test any of CONTRACTOR'S equipment in the manner prescribed by
        &203$1<´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.1.1     Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 60:

        Admit that the Transocean Deepwater Horizon Companies represented that they would

use sound technical principles where applicable.

RESPONSE TO REQUEST FOR ADMISSION NO. 60:

        In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

5HVSRQGHQWV DOVR REMHFW WR WKLV 5HTXHVW IRU $GPLVVLRQ RQ WKH JURXQGV WKDW WKH WHUP ³VRXQG

WHFKQLFDOSULQFLSOHV´LVYDJXHDQGDPELJXRXV1HLWKHUWKH'ULOOLQJ&RQWUDFWQRU%3¶V5HTXHVWV

IRU$GPLVVLRQGHILQH³VRXQGWHFKQLFDOSULQFLSOHV´6XEMHFWWRDQGZLWKRXWZDLYLQJWKHIRUHJRLQJ

specific and General Objections, Respondents admit that Article 14.1.1 of the Drilling Contract

states, in part:

                                                  43
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 18 of 27




       ³&2175$&725UHSUHVHQWVWKDW L WKH'ULOOLQJ8QLWDQGUHODWHGHTXLSPHQWVKDOOEHLQD
       condition to permit its continuous and efficient operation during the Contract Period,
       subject to required periods of maintenance, repair, drydocking and inspection by
       regulatory bodies and classification societies, (ii) it will diligently perform the Work in a
       good workmanlike manner consistent with applicable industry standards and practices,
       (iii) it will use sound technical principles where applicable, (iv) it will perform the Work
       in compliance with this Contract, (v) it will furnish material and equipment in good
       condition to sufficiently meet the applicable CONTRACT requirements and good oilfield
       practices and (vi) where mutually agreed, it will furnish used material and equipment, fit
       for the intended use. CONTRACTOR shall bear any cost incurred in placing the Drilling
       Unit in a condition to function continuously and efficiently during the entire Contract
       Period. CONTRACTOR agrees to ensure that the Drilling Unit and all equipment and
       materials furnished by CONTRACTOR are adequately maintained and in such condition
       as to permit their continuous and efficient operation. CONTRACTOR shall appropriately
       protect and secure all COMPANY'S equipment and materials placed in its care.
       CONTRACTOR also agrees to carry out visual inspection on, and make available to
       COMPANY to test any of CONTRACTOR'S equipment in the manner prescribed by
       &203$1<´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.1.1    Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 61:

       Admit that the Transocean Deepwater Horizon Companies represented that they would

perform the work under the Drilling Contract in compliance with the Drilling Contract.

RESPONSE TO REQUEST FOR ADMISSION NO. 61:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

that the tHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.




                                                44
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 19 of 27




Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 14.1.1 of the Drilling Contract states, in part:

       ³&2175$&725UHSUHVHQWVWKDW L WKH'ULOOLQJ8QLWDQGUHODWHGHTXLSPHQWVKDOOEHLQD
       condition to permit its continuous and efficient operation during the Contract Period,
       subject to required periods of maintenance, repair, drydocking and inspection by
       regulatory bodies and classification societies, (ii) it will diligently perform the Work in a
       good workmanlike manner consistent with applicable industry standards and practices,
       (iii) it will use sound technical principles where applicable, (iv) it will perform the Work
       in compliance with this Contract, (v) it will furnish material and equipment in good
       condition to sufficiently meet the applicable CONTRACT requirements and good oilfield
       practices and (vi) where mutually agreed, it will furnish used material and equipment, fit
       for the intended use. CONTRACTOR shall bear any cost incurred in placing the Drilling
       Unit in a condition to function continuously and efficiently during the entire Contract
       Period. CONTRACTOR agrees to ensure that the Drilling Unit and all equipment and
       materials furnished by CONTRACTOR are adequately maintained and in such condition
       as to permit their continuous and efficient operation. CONTRACTOR shall appropriately
       protect and secure all COMPANY'S equipment and materials placed in its care.
       CONTRACTOR also agrees to carry out visual inspection on, and make available to
       COMPANY to test any of CONTRACTOR'S equipment in the manner prescribed by
       &203$1<´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.1.1     Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 62:

       Admit that the Transocean Deepwater Horizon Companies represented that they would

furnish material and equipment in good condition to sufficiently meet the applicable Drilling

Contract requirements and good oilfield practices.

RESPONSE TO REQUEST FOR ADMISSION NO. 62:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

                                                  45
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 20 of 27




WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

5HVSRQGHQWV DOVR REMHFW WR WKLV 5HTXHVW IRU $GPLVVLRQ RQ WKH JURXQGV WKDW WKH WHUP ³JRRG

FRQGLWLRQ´ LV YDJXH DQG DPELJXRXV  1HLWKHU WKH 'ULOOLQJ &RQWUDFW QRU %3¶V 5HTXHVWV IRU

$GPLVVLRQGHILQH³JRRGFRQGLWLRQ´6XEMHFWWRDQGZLWKRXW waiving the foregoing specific and

General Objections, Respondents admit that Article 14.1.1 of the Drilling Contract states, in part:

       ³&2175$&725UHSUHVHQWVWKDW L WKH'ULOOLQJ8QLWDQGUHODWHGHTXLSPHQWVKDOOEHLQD
       condition to permit its continuous and efficient operation during the Contract Period,
       subject to required periods of maintenance, repair, drydocking and inspection by
       regulatory bodies and classification societies, (ii) it will diligently perform the Work in a
       good workmanlike manner consistent with applicable industry standards and practices,
       (iii) it will use sound technical principles where applicable, (iv) it will perform the Work
       in compliance with this Contract, (v) it will furnish material and equipment in good
       condition to sufficiently meet the applicable CONTRACT requirements and good oilfield
       practices and (vi) where mutually agreed, it will furnish used material and equipment, fit
       for the intended use. CONTRACTOR shall bear any cost incurred in placing the Drilling
       Unit in a condition to function continuously and efficiently during the entire Contract
       Period. CONTRACTOR agrees to ensure that the Drilling Unit and all equipment and
       materials furnished by CONTRACTOR are adequately maintained and in such condition
       as to permit their continuous and efficient operation. CONTRACTOR shall appropriately
       protect and secure all COMPANY'S equipment and materials placed in its care.
       CONTRACTOR also agrees to carry out visual inspection on, and make available to
       COMPANY to test any of CONTRACTOR'S equipment in the manner prescribed by
       &203$1<´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.1.1     Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 63:

       Admit that the Transocean Deepwater Horizon Companies would bear any cost incurred

in placing the Deepwater Horizon in a condition to function continuously and efficiently during

the period of the Drilling Contract.




                                                 46
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 21 of 27




RESPONSE TO REQUEST FOR ADMISSION NO. 63:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 14.1.1 of the Drilling Contract states, in part:

       ³&2175$&725UHSUHVHQWVthat (i) the Drilling Unit and related equipment shall be in a
       condition to permit its continuous and efficient operation during the Contract Period,
       subject to required periods of maintenance, repair, drydocking and inspection by
       regulatory bodies and classification societies, (ii) it will diligently perform the Work in a
       good workmanlike manner consistent with applicable industry standards and practices,
       (iii) it will use sound technical principles where applicable, (iv) it will perform the Work
       in compliance with this Contract, (v) it will furnish material and equipment in good
       condition to sufficiently meet the applicable CONTRACT requirements and good oilfield
       practices and (vi) where mutually agreed, it will furnish used material and equipment, fit
       for the intended use. CONTRACTOR shall bear any cost incurred in placing the Drilling
       Unit in a condition to function continuously and efficiently during the entire Contract
       Period. CONTRACTOR agrees to ensure that the Drilling Unit and all equipment and
       materials furnished by CONTRACTOR are adequately maintained and in such condition
       as to permit their continuous and efficient operation. CONTRACTOR shall appropriately
       protect and secure all COMPANY'S equipment and materials placed in its care.
       CONTRACTOR also agrees to carry out visual inspection on, and make available to
       COMPANY to test any of CONTRACTOR'S equipment in the manner prescribed by
       &203$1<´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.1.1     Such questions will be determined by appropriate tribunal at an

appropriate time.




                                                  47
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 22 of 27




REQUEST FOR ADMISSION NO. 64:

       Admit that the Transocean Deepwater Horizon Companies agreed to ensure that the

Deepwater Horizon and all equipment and materials furnished by Transocean were adequately

maintained and in such condition as to permit their continuous and efficient operation.

RESPONSE TO REQUEST FOR ADMISSION NO. 64:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 14.1.1 of the Drilling Contract states, in part:

       ³&2175$&725UHSUHVHQWVWKDW L WKH'ULOOLQJ8QLWDQGUHODWHGHTXLSPHQWVKDOOEHLQD
       condition to permit its continuous and efficient operation during the Contract Period,
       subject to required periods of maintenance, repair, drydocking and inspection by
       regulatory bodies and classification societies, (ii) it will diligently perform the Work in a
       good workmanlike manner consistent with applicable industry standards and practices,
       (iii) it will use sound technical principles where applicable, (iv) it will perform the Work
       in compliance with this Contract, (v) it will furnish material and equipment in good
       condition to sufficiently meet the applicable CONTRACT requirements and good oilfield
       practices and (vi) where mutually agreed, it will furnish used material and equipment, fit
       for the intended use. CONTRACTOR shall bear any cost incurred in placing the Drilling
       Unit in a condition to function continuously and efficiently during the entire Contract
       Period. CONTRACTOR agrees to ensure that the Drilling Unit and all equipment and
       materials furnished by CONTRACTOR are adequately maintained and in such condition
       as to permit their continuous and efficient operation. CONTRACTOR shall appropriately
       protect and secure all COMPANY'S equipment and materials placed in its care.
       CONTRACTOR also agrees to carry out visual inspection on, and make available to
       COMPANY to test any of CONTRACTOR'S equipment in the manner prescribed by
       &203$1<´




                                                  48
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 23 of 27




Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.1.1      Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 65:

       Admit that the Transocean Deepwater Horizon Companies represented that all of

7UDQVRFHDQ¶V SHUVRQQHO RQ WKH Deepwater Horizon shall be fully qualified, trained, competent,

able bodied and fit for their respective assignments and shall have complied with all necessary

law and regulations in connection therewith.

RESPONSE TO REQUEST FOR ADMISSION NO. 65:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 3.1.4 of the Drilling Contract states, in part:

       ³&2175$&725 UHSUHVHQWV WKDW DOO RI &2175$&725 6 SHUVRQQHO VKDOO EH IXOO\
       qualified, trained, competent, able bodied and fit for their respective assignments and
       shall have complied with all necessary lawVDQGUHJXODWLRQVLQFRQQHFWLRQWKHUHZLWK´

Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 3.1.4.     Such questions will be determined by appropriate tribunal at an

appropriate time.




                                                  49
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 24 of 27




REQUEST FOR ADMISSION NO. 66:

       Admit that the Transocean Deepwater Horizon Companies represented that during the

period of the Drilling Contract, the Deepwater Horizon was outfitted, conformed, and equipped

to meet all applicable laws, rules, requirements, and regulations promulgated by the U.S. Coast

Guard, the U.S. Environmental Protection Agency, and the U.S. Department of the Interior, as

well as any other agency, bureau, or department of the U.S. federal, territorial possession, state,

municipal, or local governments, and any political subdivisions thereof, having jurisdiction over

the operations in U.S. federal waters.

RESPONSE TO REQUEST FOR ADMISSION NO. 66:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRXV

Respondents cannot determine to which companies, in particular, this request purports to pertain.

Subject to and without waiving the foregoing specific and General Objections, Respondents

admit that Article 14.5 of the Drilling Contract states:

       ³6XEMHFWWR$UWLFOH&2175$&725UHSUHVHQWVWKDWGXULQJWKH&RQWUDFW3HULRGWKH
       Drilling Unit is outfitted, conformed, and equipped to meet all applicable laws, rules,
       requirements, and regulations promulgated by the U.S. Coast Guard, the U.S.
       Environmental Protection Agency, the United States of America Department of the
       Interior as well as any other agency, bureau, or department of the U.S. federal, territorial
       possession, state, municipal, or local governments, any political subdivisions thereof,
       KDYLQJMXULVGLFWLRQRYHUWKHRSHUDWLRQVLQ86IHGHUDOZDWHUV´




                                                 50
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 25 of 27




Respondents further state that they express no position regarding the interpretation of Drilling

Contract Article 14.5.      Such questions will be determined by appropriate tribunal at an

appropriate time.

REQUEST FOR ADMISSION NO. 67:

        Admit that the actual performance and superintendence of all work under the Drilling

Contract was by the Transocean Deepwater Horizon Companies.

RESPONSE TO REQUEST FOR ADMISSION NO. 67:

        In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDW WKH WHUP ³7UDQVRFHDQ 'HHSZDWHU +RUL]RQ &RPSDQLHV´ LV YDJXH DQG DPELJXRus.

Respondents cannot determine to which companies, in particular, this request purports to pertain.

5HVSRQGHQWV DOVR REMHFW WR WKLV 5HTXHVW IRU $GPLVVLRQ RQ WKH JURXQGV WKDW WKH WHUP ³DFWXDO

SHUIRUPDQFH´ LV YDJXH DQG DPELJXRXV  1HLWKHU WKH 'ULOOLQJ &RQWUDFW QRU %3¶V 5HTXHVWV IRU

$GPLVVLRQGHILQH³DFWXDOSHUIRUPDQFH´6XEMHFWWRDQGZLWKRXWZDLYLQJWKHIRUHJRLQJVSHFLILF

and General Objections, Respondents admit that Article 18.1 of the Drilling Contract states, in

SDUW  ³7KH DFWXDO SHUIRUPDQFH DQG VXperintendence of all work hereunder shall be by

CONTRACTOR, but the work shall meet the approval of COMPANY and be subject to the

general right of inspection herein provided in order for COMPANY to secure the satisfactory

FRPSOHWLRQRIWKHZRUN´Respondents further state that they express no position regarding the

interpretation of Drilling Contract Article 18.1.         Such questions will be determined by

appropriate tribunal at an appropriate time. In addition, Respondents deny any implication that



                                                  51
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 26 of 27




Respondents assumed or was otherwise responsible for any of the duties or obligations of the

Macondo well operator. BP, as operator of the Macondo well, retained full authority over well

design, drilling operations, casing and cementing processes, temporary abandonment procedures

and testing, and determination and implementation of appropriate well-control procedures,

among other responsibilities.

REQUEST FOR ADMISSION NO. 68:

       Admit that a blowout is a hazard common to all drilling rigs involved in hydrocarbon

exploration or development operations.

RESPONSE TO REQUEST FOR ADMISSION NO. 68:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Respondents also object to this Request for Admission on the grounds

WKDWWKHWHUP³FRPPRQ´LVYDJXHDQGDPELJXRXV%\ZD\RIH[DPSOHLWLVXQFOHDULI³FRPPRQ´

refers to frequency of occurrence or a commonality across all drilling rigs. Subject to and

without waiving the foregoing specific and General Objections, Respondents admit that a

blowout is a potential hazard in hydrocarbon exploration or development operations.

REQUEST FOR ADMISSION NO. 69:

       Admit that although unexpected reservoir conditions could lead to a blowout, a blowout

is more likely to arise from human error or equipment failure.

RESPONSE TO REQUEST FOR ADMISSION NO. 69:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by



                                               52
  Case 2:10-md-02179-CJB-DPC Document 3788-4 Filed 08/22/11 Page 27 of 27




REQUEST FOR ADMISSION NO. 282:

       Admit that under the Drilling Contract, BP was not obligated to pay Transocean during a

shut down of the Deepwater Horizon for inspection, repair, or replacement of any surface or

subsurface equipment in excess of 24 hours per calendar month with a maximum accumulation

of 12 days.

RESPONSE TO REQUEST FOR ADMISSION NO. 282:

       In addition to the General Objections set forth above, Respondents object to this Request

for Admission on the grounds that it seeks information related to a putative claim covered by

Article 35.4 of the Drilling Contract, over which the Court lacks subject matter jurisdiction

pursuant to 9 U.S.C. § 2. Subject to and without waiving the foregoing specific and General

Objections, Respondents admit that Article 2.2.5(a) of the Drilling Contract states, in part:

³&2175$&725 VKDOO EH DOORZHG D PD[LPXP RI WZHQW\-four (24) hours per calendar month

Mechanical Downtime with a maximum accumulation of twelve (12) days; thereafter the day

UDWHUHGXFHVWR]HUR  ´Respondents further state that they express no position regarding the

interpretation of Drilling Contract Article 2.2.5(a). Such questions will be determined by an

appropriate tribunal at an appropriate time.

REQUEST FOR ADMISSION NO. 283:

       Admit that the Deepwater Horizon EORZRXW SUHYHQWHU¶V GHVLJQ PDQXIDFWXUH DQG

installation were governed by 30 C.F.R. §§ 250.441±250.444.

RESPONSE TO REQUEST FOR ADMISSION NO. 283:

         In addition to the General Objections set forth above, Respondents object to this

Request for Admission on the grounds that it seeks information related to a putative claim

covered by Article 35.4 of the Drilling Contract, over which the Court lacks subject matter



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